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05
                                UNITED STATES DISTRICT COURT
06                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
07

08 UNITED STATES OF AMERICA,              )
                                          )
09               Plaintiff,               )            Case No. 07-MJ-277
                                          )
10               v.                       )
                                          )            DETENTION ORDER
11   SANTIAGO CRUZ-MORENO,                )
                                          )
12               Defendant.               )
     ____________________________________ )
13

14 Offenses charged:

15          Count 1: Conspiracy to Distribute and to Possess with Intent to Distribute Cocaine in

16 violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(A), and 846.

17          Count 2: Conspiracy to Engage in Money Laundering in violation of 18 U.S.C. §§

18 1956(h) and 2.

19 Date of Detention Hearing:      June 18, 2007.

20          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

21 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

22 the following:

23         FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that defendant

25 is a flight risk based on the nature of the pending charges. Application of the presumption is

26 appropriate in this case.

     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (2)    Defendant is a citizen of Mexico.

02          (3)    Defendant has no ties to this community or to the Western District of

03 Washington.

04          (4)    There are no conditions or combination of conditions other than detention that

05 will reasonably assure the appearance of defendant as required.

06          IT IS THEREFORE ORDERED:

07          (1)    Defendant shall be detained pending trial and committed to the custody of the

08                 Attorney General for confinement in a correction facility separate, to the extent

09                 practicable, from persons awaiting or serving sentences or being held in custody

10                 pending appeal;

11          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

12                 counsel;

13          (3)    On order of a court of the United States or on request of an attorney for the

14                 government, the person in charge of the corrections facility in which defendant

15                 is confined shall deliver the defendant to a United States Marshal for the purpose

16                 of an appearance in connection with a court proceeding; and

17          (4)    The Clerk shall direct copies of this Order to counsel for the United States, to

18                 counsel for the defendant, to the United States Marshal, and to the United States

19                 Pretrial Services Officer.

20                 DATED this 18th day of June, 2007.

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23
                                                         JAMES P. DONOHUE
24                                                       United States Magistrate Judge
25

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     DETENTION ORDER                                                                         15.13
     18 U.S.C. § 3142(i)                                                                  Rev. 1/91
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